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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 FFGGP, INC., AS TRUSTEE,                  §
                                           §
        Plaintiff,                         §
                                           §
 v.                                        §
                                           §
 DEUTSCHE BANK NATIONAL TRUST              §
 COMPANY, AS TRUSTEE FOR                   §
 SOUNDVIEW HOME LOAN TRUST                 §
 2008-1, ASSET-BACKED                      §
 CERTIFICATES, SERIES 2008-1,              §
                                           §
        Defendant.                         §
 _____________________________________     §    Civil Action No. 3:24-cv-00470-B
                                           §
 DEUTSCHE BANK NATIONAL TRUST              §
 COMPANY, AS TRUSTEE FOR                   §
 SOUNDVIEW HOME LOAN TRUST                 §
 2008-1, ASSET-BACKED                      §
 CERTIFICATES, SERIES 2008-1,              §
                                           §
        Defendant/Counter-Plaintiff and    §
        Third-Party Plaintiff,             §
                                           §
 v.                                        §
                                           §
 FFGGP, INC., AS TRUSTEE,                  §
                                           §
        Plaintiff/Counter-Defendant,       §
                                           §
 ESTATE OF JUDY COLENA CARTER              §
 AND ESTATE OF DOROTHY                     §
 ELIZABETH SMITH,                          §
                                           §
        Third-Party Defendants.            §


    DEUTSCHE BANK TRUSTEE’S REPLY BRIEF IN SUPPORT OF ITS CROSS-
             MOTION FOR PARTIAL SUMMARY JUDGMENT


       To assist the Court in its review of Deutsche Bank Trustee’s Cross-Motion for Partial

Summary Judgment and FFGGP’s Response, Deutsche Bank Trustee files this Reply Brief.

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                                        I.      SUMMARY

       Deutsche Bank Trustee moved for summary judgment on the following grounds:

           Deutsche Bank Trustee’s summary-judgment evidence establishes the strength of its

            own superior title to succeed on its trespass-to-try-title counterclaim.

           FFGGP’s quiet-title claim premised on three acceleration dates—2011, 2015, and

            2019—fails and should be dismissed because:

            1. Res judicata bars the limitations claim premised on the 2011 acceleration because

               a court has already determined that any purported acceleration by Deutsche Bank

               Trustee in 2011 was deemed abandoned and rejected FFGGP’s limitations claim.

            2. Deutsche Bank Trustee timely and unequivocally abandoned the 2015 acceleration

               by sending correspondence requesting less than the accelerated balance due on the

               2007 Loan before the limitations period expired.

            3. Deutsche Bank Trustee’s evidence demonstrates that Deutsche Bank Trustee never

               re-accelerated the debt in 2019, or at any point since, to trigger the limitations

               period.

            4. FFGGP cannot demonstrate a valid tender—a necessary requirement to obtain

               quiet-title relief.

       FFGGP has not raised a material fact question as to any of these grounds for summary

judgment:

           Deutsche Bank Trustee moved for summary judgment on res judicata on the 2011

            acceleration. FFGGP does not respond to that argument. FFGGP only argues that res

            judicata does not apply to its arguments about a subsequent acceleration. Summary




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             judgment should be granted in favor of Deutsche Bank Trustee as to the 2011

             acceleration because res judicata bars those claims.

            FFGGP has not addressed Deutsche Bank Trustee’s evidence showing that Deutsche

             Bank Trustee abandoned the 2015 acceleration of the 2007 Loan by sending two letters

             to the Borrowers—both of which requested less than the total accelerated balance due.1

            With respect to the 2019 acceleration, FFGGP argues that Deutsche Bank Trustee

             accelerated the 2007 Loan in 2015 and never abandoned such acceleration. That is

             wrong. See previous bullet point. In the alternative, FFGGP speculates that Deutsche

             Bank Trustee must have re-accelerated the debt based on the 2019 notice of sale. This

             argument is incorrect. Acceleration requires two affirmative acts: (1) a clear and

             unequivocal pre-acceleration notice of intent to accelerate, and (2) notice of

             acceleration. There is no evidence that Deutsche Bank Trustee re-accelerated the 2007

             Loan after it abandoned the 2015 acceleration.

            Finally, FFGGP argues it does not need to establish that it tendered the required sums

             owed on the 2007 Loan to Deutsche Bank Trustee because the loan obligation is

             allegedly “unenforceable.” This argument is incorrect because the 2007 Loan is

             enforceable and a valid tender offer is required in order to obtain a judgment quieting

             title to the Property.

         The Court should grant Deutsche Bank Trustee’s Cross-Motion for Partial Summary

Judgment.




1
    Doc. No. 27 at 17–20.

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                          II.     ARGUMENTS AND AUTHORITIES

A.      FFGGP Does Not Respond to Deutsche Bank Trustee’s Arguments in Support of its
        Counterclaim for Trespass To Try Title

        Deutsche Bank Trustee moved for summary judgment on its counterclaim for trespass to

try title against FFGGP, seeking to recover title and possession of the Property.2 Deutsche Bank

Trustee presented evidence establishing: (1) its superior title to the Property, (2) an uncured default

on the 2007 Loan, (3) Deutsche Bank Trustee’s possessory right to foreclose on the Property, and

(4) FFGGP’s continuous interference with Deutsche Bank Trustee’s possessory rights.3 But

FFGGP fails to provide either evidence or arguments to preclude summary judgment on Deutsche

Bank Trustee’s trespass-to-try-title claim.

B.      FFGGP Does Not Respond to or Present Controverting Evidence to Deutsche Bank
        Trustee’s Res Judicata Arguments that a Prior Court Already Adjudicated the
        Limitations Claim Based On the Alleged 2011 Acceleration

        FFGGP fails to provide either evidence or arguments responding to Deutsche Bank

Trustee’s res judicata arguments relating to the purported 2011 acceleration.4 FFGGP incorrectly

states that Deutsche Bank Trustee’s res judicata arguments relate to the 2019 acceleration.5 But

they do not. Deutsche Bank Trustee’s res judicata arguments squarely addressed the 2011

acceleration.6 A court has already decided that Deutsche Bank Trustee abandoned the 2011

acceleration.”7 Because FFGGP has not responded to this summary-judgment ground, the Court

may consider this fact undisputed and grant summary judgment in favor of Deutsche Bank




2
  Doc. No. 17 at (¶¶ 31–35, Prayer); Doc. No. 27 at 21–23.
3
  Doc. No. 17 at (¶¶ 31–35, Prayer); Doc. No. 27 at 21–23.
4
  See generally Doc. No. 30.
5
  Doc. No. 30 at 2.
6
  Doc. No. 27 at 18–21.
7
  Doc. No. 27 at Ex. B-3 (app’x_259).

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Trustee.8 See FED. R. CIV. P. 56(e)(2), (3); See Garcia v. State Farm Lloyds, 629 F. Supp. 3d 504,

510 (N.D. Tex. 2022); see also Davis v. Wells Fargo Bank NA et al., No. 4:14-CV-254-O, 2015

WL 11120587, at *2 (N.D. Tex. Jan. 15, 2015) (determining that plaintiff’s failure to respond to

bank’s summary judgment arguments and evidence “allows the Court to consider [the bank’s] facts

undisputed for the purposes of the motion”).

C.      FFGGP Does Not Respond to Deutsche Bank Trustee’s Abandonment-of-
        Acceleration Arguments Regarding the 2015 Acceleration

        Deutsche Bank Trustee moved for summary judgment on FFGGP’s limitations claim based

on the 2015 acceleration because the summary-judgment evidence unequivocally establishes that

any acceleration in 2015 was subsequently abandoned about five months after the initial January

14, 2015 acceleration date.9 According to the Response, FFGGP does not dispute that Deutsche

Bank Trustee sent correspondence to the Borrowers requesting less than the full accelerated

balance due, which unequivocally abandoned the 2015 acceleration.10 Summary judgment should

be granted in favor of Deutsche Bank Trustee because Deutsche Bank Trustee abandoned the 2015

acceleration by issuing correspondence requesting less than the full accelerated balance due from

the Borrowers before the limitations period expired in January 2019.11 See, e.g., Jatera Corp. v.

US Bank Nat’l Ass’n as Tr. for Registered Holders of Citigroup Mortg. Loan Tr., 917 F.3d 831,

835 (5th Cir. 2019) (acknowledging that default notice which requested less than the full debt

constitutes an abandonment of a prior acceleration); Martin v. Fed. Nat’l Mortg. Ass’n, 814 F.3d

315, 318 (5th Cir. 2016) (“[T]he request for payment of less than the full obligation—after initially



8
   FFGGP’s disregard of Deutsche Bank Trustee’s actual arguments in favor of responding to
arguments not made suggests that this entire lawsuit—like the three prior lawsuits—is frivolous
and should be dismissed with prejudice.
9
  Doc. No. 27 at 23–28.
10
   See generally Doc. No. 30.
11
   Doc. No. 27 at 26.

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accelerating the entire obligation—was an unequivocal expression of the bank's intent to abandon

or waive its initial acceleration”); Leonard v. Ocwen Loan Servicing, L.L.C., 616 F. App’x 677,

680 (5th Cir. 2015) (holding that a lender waives or abandons its earlier acceleration when it

“put[s] the [borrower] on notice of its abandonment of acceleration by requesting payment on less

than the full amount of the loan”).

D.        FFGGP Does Not Respond to Deutsche Bank Trustee’s Arguments Relating to the
          Alleged 2019 Acceleration or Present Any Evidence Demonstrating Acceleration in
          2019

          FFGGP contends that Deutsche Bank Trustee accelerated the 2007 Loan, as evidenced by

the 2019 notice of sale.12 Deutsche Bank Trustee never re-accelerated the 2007 Loan after it

abandoned the 2015 acceleration because acceleration requires two acts: (1) notice of intent to

accelerate, and (2) notice of acceleration. See Wilmington Tr., Nat’l Ass’n v. Rob, 891 F.3d 174,

177 (5th Cir. 2018); Holy Cross Church of God in Christ v. Wolf, 44 S.W.3d 562, 566 (Tex. 2001).

The summary-judgment record is devoid of either of these two notices. The Court should not

assume that the 2019 notice of sale was based on a proper re-acceleration of the 2007 Loan without

evidence of such.

E.        FFGGP Does Not Adequately Respond to Deutsche Bank Trustee’s Arguments
          Regarding FFGGP’s Failure to Furnish Proof of A Valid Tender Offer

          In the Response, FFGGP argues that it need not tender the amounts due and owing on the

2007 Loan to obtain quiet-title relief if the loan obligation is “unenforceable.”13 First, FFGGP has

not shown that the loan obligation is unenforceable. Second, Texas law, as acknowledged by this

Court, clearly requires FFGGP to furnish proof of a valid “tender [offer] of whatever amount is

owed on the note” to obtain a judgment quieting title to the Property in its name. See Cook-Bell v.



12
     Doc. No. 30 at 3–4.
13
     Doc. No. 30 at 4.

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Mortg. Elec. Registration Sys., Inc., 868 F. Supp. 2d 585, 591 (N.D. Tex. 2012) (citation omitted).

Summary judgment should be granted in favor of Deutsche Bank Trustee because Deutsche Bank

Trustee introduced into the record proof of the absence of any tender offer by FFGGP, and FFGGP

has not presented any controverting evidence.

                                     III.   CONCLUSION

       For these reasons, Deutsche Bank Trustee respectfully requests that the Court grant its

Cross-Motion for Partial Summary Judgment and dismiss FFGGP’s claims with prejudice as to

the re-filing of the same. Deutsche Bank Trustee also requests all such further relief to which it

may be justly entitled.

                                             Respectfully submitted,

                                             /s/ Helen O. Turner
                                             Robert T. Mowrey – Attorney-in-Charge
                                             Texas Bar No. 14607500
                                             rmowrey@lockelord.com
                                             Cynthia K. Timms
                                             Texas Bar No. 11161450
                                             ctimms@lockelord.com
                                             Matthew K. Hansen
                                             Texas Bar No. 24065368
                                             mkhansen@lockelord.com
                                             LOCKE LORD LLP
                                             2200 Ross Avenue, Suite 2800
                                             Dallas, Texas 75201-2750
                                             Telephone: (214) 740-8000
                                             Facsimile: (214) 740-8800

                                             Helen O. Turner
                                             Texas Bar No. 24094229
                                             helen.turner@lockelord.com
                                             LOCKE LORD LLP
                                             600 Travis Street, Suite 2800
                                             Houston, Texas 77002
                                             Telephone: (713) 226-1280
                                             Facsimile: (713) 229-2501

                                             COUNSEL FOR DEFENDANT/COUNTER-
                                             PLAINTIFF/THIRD-PARTY PLAINTIFF

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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 21, 2024, a true and correct copy of the foregoing
instrument was served on the following counsel of record via CM/ECF, email, and/or CMRRR
according to the Federal Rules of Civil Procedure:

       Kenneth S. Harter
       Texas Bar No. 09155300
       ken@kenharter.com
       LAW OFFICES OF KENNETH S. HARTER
       6160 Warren Parkway, Suite 100
       Frisco, Texas 75034
       Telephone: (972) 752-1928
       Facsimile: (214) 206-1491
       Counsel for FFGGP, Inc., as Trustee

       Estate of Judy Colena Carter
       Estate of Dorothy Elizabeth Smith
       c/o Michael L. Ellis
       12063 Ravenview Road
       Dallas, Texas 75253
       Pro Se


                                            /s/ Helen O. Turner
                                            Counsel for Defendant/Counter-Plaintiff/Third-Party
                                            Plaintiff




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